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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 11-21392-Civ-COOKE/WHITE
                                 (Case No. 05-20596-Cr-COOKE)

 ANTONIO SANCHEZ,

        Movant,
 vs.

 UNITED STATES OF AMERICA,

       Respondent.
 ___________________________________/

        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION
       AND ISSUING CERTIFICATE OF APPEALABILITY AS TO CERTAIN CLAIMS

        THIS MATTER was referred to the Honorable Patrick A. White, United States Magistrate

 Judge, pursuant to Administrative Order 2003-19 of this Court, for a ruling on all pre-trial, non-

 dispositive matters and for a Report and Recommendation on any dispositive matters.              On

 November 21, 2011, Judge White issued a Report and Recommendation (ECF No. 11)

 recommending that (i) the Motion to Vacate Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 1) be

 denied, and (ii) this case be closed. Mr. Sanchez did not file objections to the Report, and the time

 to do so has passed. I have considered Judge White’s Report and Recommendation, and have made

 a de novo review of the record. I find Judge White’s Report and Recommendation clear, cogent,

 and compelling.

        It is ORDERED and ADJUDGED that Judge White’s Report and Recommendation (ECF

 No. 11) is AFFIRMED and ADOPTED. Accordingly, the Motion to Vacate Sentence (ECF No.

 1) is DENIED. The Clerk is directed to CLOSE this case.

        It is FURTHER ORDERED and ADJUDGED that, pursuant to Rule 11(a) of the Rules

 Governing Section 2255 Cases, a Certificate of Appealability shall issue as to claims 1 and 2 (as

 numbered in Judge White’s Report). As to these issues, “jurists of reason could disagree with the

 district court's resolution of his constitutional claims or that jurists could conclude the issues

 presented are adequate to deserve encouragement to proceed further.” Miller-El v. Cockrell, 537
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 U.S. 322, 326 (2003); accord Lott v. Attorney Gen., Fla., 594 F.3d 1296, 1301 (11th Cir. 2010)

 (explaining that a “petitioner need not show he will ultimately succeed on appeal” in order to

 warrant a certificate of appealability).

        DONE and ORDERED in chambers, at Miami, Florida, this 30TH day of December 2011.




 Copies furnished to:
 Patrick A. White, U.S. Magistrate Judge
 Antonio Sanchez, pro se
 Counsel of record
